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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 JANE DOE, M.D.,

                            Plaintiff,

 v.                                                   Civil Action No. 20-2148 (CRC)

 STEVEN L. LIEBERMAN, et al.,

                            Defendants.


                 JOINT STATUS REPORT AND PROPOSED SCHEDULE

       Pursuant to the Court’s Scheduling Order dated September 17, 2020, Plaintiff Jane Doe,

M.D., and Defendants Steven L. Lieberman, Acting Principal Under Secretary for Health, the

Department of Veterans Affairs’ (“VA”) Disciplinary Appeals Board, and the Eastern Colorado

Healthcare System (hereafter the “parties”), respectfully file this status report proposing further

proceedings in this matter. The parties hereby state as follows:

       1.       Plaintiff’s complaint presents a challenge under the Administrative Procedure

Act, 5 U.S.C. §§701-06, and under 38 U.S.C. § 7462(f)(1), to administrative actions by

Defendants to, among other things, suspend her clinical privileges, terminate her, and report her

to the National Practitioner Data Bank (“NPDB”). See Compl. ¶5.

       2.       On August 17, 2020, Plaintiff filed a motion for a temporary restraining order and

preliminary injunction seeking an Order from this Court preventing Defendants from reporting

Plaintiff to the NPDB. See ECF No. 5. As noted in the parties’ last status report, see ECF No.

14, Defendants have agreed to voluntarily refrain from reporting Plaintiff to the NPDB until the

Court decides the merits of the parties’ summary judgment motions or otherwise dismisses
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Plaintiff’s complaint. Accordingly, Plaintiff has withdrawn her motion for preliminary

injunctive relief, see ECF No. 15.

       3.       Pursuant to the Court’s Order dated September 17, 2020, the parties have

conferred regarding a proposal for further proceedings. The parties agree that this matter can be,

and should be, resolved on cross-motions for summary judgment based on Defendant’s Certified

Administrative Record. Further, Plaintiff has also informed Defendants that she intends to

amend her complaint in this matter. Accordingly, the parties respectfully propose the following

agreed-upon schedule:

               Plaintiff’s Amended Complaint: November 9, 2020

               Defendants’ Response to the Amended Complaint: November 23, 2020.

               Certified Index of the Administrative Record: November 23, 2020.

               Plaintiff’s Motion for Summary Judgment: December 21, 2020.

               Defendants’ Cross-Motion for Summary Judgment and Opposition to Plaintiff’s
                Motion: January 21, 2021

               Plaintiff’s Opposition to Defendant’s Cross-Motion and Reply: February 22,
                2021.

               Defendants’ Reply: March 22, 2021.

               Joint Appendix (per LCvR 7(n)): April 5, 2021.

A proposed order is attached.

                                         *      *       *




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Dated October 1, 2020         Respectfully submitted,

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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 JANE DOE, M.D.,

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 v.                                                 Civil Action No. 20-2148 (CRC)

 STEVEN L. LIEBERMAN, et al.,

                           Defendants.


                                        [PROPOSED] ORDER

       Upon consideration of the parties’ joint status report and proposed schedule, it is hereby

ORDERED that the following schedule shall govern further proceedings in this matter:

              Plaintiff’s amended complaint is due November 9, 2020;

              Defendants’ response to the amended complaint and certified index of the
               administrative record are due November 23, 2020;

              Plaintiff’s Motion for Summary Judgment is due December 21, 2020;

              Defendants’ Cross-Motion for Summary Judgment and Opposition to Plaintiff’s
               Motion are due January 21, 2021;

              Plaintiff’s Opposition to Defendant’s Cross-Motion and Reply are due February
               22, 2021;

              Defendants’ Reply is due March 22, 2021; and

              The Parties’ Joint Appendix pursuant to Local Civil Rule 7(n) is due April 5,
               2021.




 Dated:
                                                  United States District Judge
